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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                     )
PETER GABIOLA, et al., on behalf of
                                                     )
themselves and all other similarly situated
                                                     )
individuals,
                                                     )
                                                              Case No. 16-cv-02076
                                                     )
       Plaintiffs
                                                     )
                                                              Judge Sharon Johnson Coleman
                                                     )
       v.
                                                     )
                                                              Magistrate Judge Susan E. Cox
                                                     )
MUGSHOTS.COM, LLC, et al.,
                                                     )
                                                     )
       Defendants.
                                                     )

            ILLINOIS ATTORNEY GENERAL’S MOTION TO INTERVENE

       Pursuant to Federal Rules of Civil Procedure 5.1 and 24, Illinois Attorney General Lisa

Madigan (“Attorney General”) moves to intervene in this case in response to certain defendants’

challenge to the constitutionality of provisions of the Illinois Right of Publicity Act (“IRPA”),

765 ILCS 1075/1 et seq., and the Illinois Consumer Fraud Act (“ICFA”), 815 ILCS 505/1 et seq.

In support of this motion, the Attorney General states:

       1.        Plaintiffs are two individuals whose criminal record information, including their

photographs, or “mugshots,” allegedly appears on websites owned and operated by the

defendants. Plaintiffs allege, inter alia, that the defendants post and then demand payment for the

removal of such information from these websites, in violation of the IRPA and ICFA. (Compl.,

Counts I–III.)

       2.        On January 20, 2016, Plaintiffs filed this action in the Circuit Court of Cook

County on behalf of themselves and a proposed class of similarly situated individuals.

Defendants Thomas Keesee, Marc Gary Epstein, and Hammermill & Masterson LLC

(collectively, “Moving Defendants”) removed the action to this Court on February 9, 2016.



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       3.      On March, 22, 2016, the Moving Defendants filed a motion to dismiss the

complaint on various grounds. The Moving Defendants contend, inter alia, that the provisions of

the IRPA and ICFA relied upon by Plaintiffs are unconstitutional as applied to them. (Dkt. 13 at

6-8.) Specifically, the Moving Defendants argue that application of these statutory provisions to

their conduct, as alleged in the complaint, would violate the First Amendment of the United

States Constitution. (Id.) The Moving Defendants also claim that the provisions of the IRPA and

ICFA relied upon by Plaintiffs conflict with the Communications Decency Act, 47 U.S.C. § 230,

making their application to the Moving Defendants unconstitutional under the Supremacy

Clause, U.S. Const. art. VI, cl. 2. (Dkt. 14 at 8-12.)

       4.      Pursuant to Federal Rule of Civil Procedure 5.1(a), on March 25, 2016, the

Moving Defendants sent to the Attorney General and filed with the Court a notice that they were

challenging the constitutionality of the IRPA and ICFA. (Dkt. 16.) The Attorney General

received this notice on April 4, 2016.

       5.      Rule 5.1(c) provides that, within 60 days after receiving notice of a challenge to

the constitutionality of a state statute (or after certification by the Court of a challenge to the

constitutionality of a statute, whichever occurs first), the State’s Attorney General may intervene

in the action. See also Fed. R. Civ. P. 24.

       6.      Based on the foregoing, the Attorney General moves to intervene in this action

pursuant to Rules 5.1 and 24 of the Federal Rules of Civil Procedure.

       7.      If the Court permits the Attorney General to intervene, the Attorney General

further requests leave to file by June 6, 2016, a written response, not exceeding 25 pages, to the

Moving Defendants’ arguments in their motion to dismiss that the IRPA and ICFA are

unconstitutional.




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       WHEREFORE, the Attorney General respectfully requests leave to intervene in this case,

and further requests leave to file by June 6, 2016, a written response, not exceeding 25 pages, to

the Moving Defendants’ arguments in their motion to dismiss that the IRPA and ICFA are

unconstitutional.

Date: April 29, 2016                                Respectfully submitted,

                                                    LISA MADIGAN
                                                    Attorney General of the State of Illinois

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